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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


 FRANK DOMINIC MR. DUNDEE,                       )     Case No. 1:22-cv-1351
                                                 )
        Plaintiff,                               )
                                                 )     JUDGE DAN AARON POLSTER
        v.                                       )
                                                 )
 UNIVERSITY HOSPITAL HEALTH                      )     JUDGMENT ENTRY
 SYSTEMS, INC,                                   )
                                                 )
        Defendant.                               )



       For the reasons stated in the Court’s Opinion and Order and pursuant to

Fed. R. Civ. P. 58, the Court enters summary judgment in favor of Defendant UH and against

Plaintiff, Mr. Frank Dundee, in the captioned case. The case if formally closed.

       IT IS SO ORDERED.

Dated: October 6, 2023
                                                     s/Dan Aaron Polster
                                                     United States District Judge




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